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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA                  J:3~ES:in,f(,:~f'ClERI(
                            ATLANTA DIVISION                                               ) "t1eputy CIeri<

UNITED STATES OF AMERICA
                                              CRINIINAL ACTION NO.
             v.
                                              1:12-CR-323-WSD-ECS
EDWARD K. KIM

 THIRD-PARTY CLAIM TO FORFEITED PROPERTY & MOTION TO AMEND
                      FORFEITURE ORDER

      COMES NOW Samuel Markham Conder, Petitioner, and asks this Court to

amend the forfeiture order and require the government to promptly return the

property forfeited in the instant case - including a firearm and ammunition - to

Petitioner, its rightful owner. See 18 U.S.c. § 983(d); 21 U.s.c. § 853(n). In support

of this third-party claim, Petitioner offers the following:

      1.     My contact information is Samuel Conder, 1615 Victoria Chase,

             Cumming, GA,30041, (404) 713-1593, samuelconder@yahoo.com.

      2.     I am the owner of the firearm and ammunition described in the Court's

             order of forfeiture in the instant case: (a) one .38 caliber Smith &

             Wesson resolver (Serial No. D328969) and (b) assorted ammunition.

             (Doc. 18).

      3.     I acquired the firearm in approximately April 2012, in Cumming,

             Georgia, when my step-father Edwin Kotlarz gave it to me as a gift.

      4.     I acquired the ammunition in approximately April 2012, in Cumming,
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        Georgia, when my step-father Edwin Kotlarz gave it to me as a gift.

   5.   The firearm and ammunition were stolen from me on August 17,2012,

        by Edward Kim, the defendant in this case. Mr. Kim is the brother of

        my wife, Jenny Conder. Mr. Kim was visiting our home at 1615

        Victoria Chase at the time he stole the firearm and ammunition. My

        wife and I reported the theft to the Forsyth County (Ga.) Police

        Department the same day. (I have attached a copy of the police report

        with this petition and marked it as Exhibit A.) Mr. Kim's theft charges

        are currently pending in the Forsyth County Superior Court.

   6.   Meanwhile, Mr. Kim committed several robberies in the days following

        the theft of my firearm and ammunition. He pled guilty on December

        11, 2012, to these robberies in this federal indictment. He used my

        firearm during these crimes, but he did so without my knowledge and

        without my permission. I was not involved in the criminal conduct in

        any way. I only found out about these robberies after the fact.

   7.   My firearm and ammunition are named and described in the forfeiture

        provision in the indictment. (Doc. 1). Following a motion by the

        government, the district court issued an order of forfeiture against the

        firearm and ammunition. (Doc. 18).



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   8.    I have received notice of the forfeiture of the firearm and ammunition.

         These items lawfully belong to me, rather than to the government, and

         as a proper third-party claimant, I ask for their prompt return.

   9.    Through this motion, I have attempted to meet all the requirements of

         innocent-owner claimants under 18 U.S.C § 983(d) and 21 U.S.C §

         853(n)(2). For this reason, the firearm and ammunition ought to be

         returned to me. First, I am an innocent owner. See generally United

         States v. 5000 Palmetto Drive, 928 F.3d 373 (11th Cir. 1991) (court found

         in favor of owner who allowed son to live at her home, where son

         committed crimes without her knowledge). Second, I did not know of

         Mr. Kim's criminal conduct nor of his use of my property during those

         crimes until after the fact. See generally United States v. Carrell,252 F.3d

         1193, 1203 (11th Cir. 2001) (measuring former forfeiture statute

         governing innocent-owner defense).

   10.   I expect that the government will not object to this motion. However,

         in the event that it objects, I hereby request a hearing before the Court

         on this matter. See 18 U.S.C § 983(d); 21 U.S.C § 853(n)(2) (cited by

         Court in its order).

   11.   I am not an attorney and I ask this Court interpret this motion and my



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             declaration liberally.

      12.    I make these statements above and sign my name below under penalty

             of perjury. I swear or affirm that I have provided this Court with

             truthful and complete information, to the best of my ability.

      Dated: This the    %he j




                            CERTIFICATE OF SERVICE

      I hereby certify that the foregoing motion was formatted in Book Antiqua 13

pt., in accordance with Local Rule 5.1C, and was electronically filed this day with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to Dahil D. Goss, United States Attorney, 600 Richard B.

Russell Building, 75 Spring Street, S.W., Atlanta, Georgia, 30303.

      Dated: This the    J,2;(A
